       Case 2:12-cr-00004-APG-EJY           Document 168        Filed 06/14/12     Page 1 of 1



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 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES,                            )
                                               )
 8                     Plaintiff,              )                 Case No. 2:12-cr-00004-MMD-GWF
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   JERMAINE SMITH,                           )
                                               )
11                     Defendant.              )
     __________________________________________)
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            This matter is before the Court on Defendant Jermaine Smith’s (“Smith”) Motion for
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     Reconsideration (#165), filed June 12, 2012.
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            By way of this motion, Smith requests reconsideration of the pretrial detention order (#126).
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     Pursuant to Local Rule IA 10-6(a), “[a] party who has appeared by attorney cannot while so
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     represented appear or act in the case.” The motion was not filed through Smith’s appointed
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     attorney and will be denied. Smith is not precluded from filing this request through his appointed
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     attorney. Accordingly,
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            IT IS HEREBY ORDERED that Defendant’s Motion for Reconsideration (#165) is
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     denied without prejudice.
21
            DATED this 14th day of June, 2012.
22
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24                                                  ______________________________________
                                                    C.W. Hoffman, Jr.
25                                                  United States Magistrate Judge
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